Case 1:12-cr-00033-JLK Document 1876 Filed 06/07/18 USDC Colorado Page 1 of 3




                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO
                             Senior Judge John L. Kane


Date: June 7, 2018                                  Deputy Clerk: Bernique Abiakam
                                                    Court Reporter: Terri Lindblom
Interpreters: Irina Kamensky
              Yuliya Fedasenka
              Muhitdin Ahunhodjaev

Criminal Action No.:12-cr-00033-JLK-1

UNITED STATES OF AMERICA,                           Gregory A. Holloway
                                                    Julia K. Martinez

      Plaintiff,

v.

1.    JAMSHID MUHTOROV,                             Kathryn J. Stimson
                                                    Brian R. Leedy
                                                    Warren R. Williamson

      Defendant.


                              COURTROOM MINUTES

Jury Trial Day 12

8:38 a.m.     Court in session.

Court calls case. Appearances of counsel. Defendant present, in custody. Also
present, Special Agent Ken Harris.

Jury not present.

Interpreters sworn.

Comments by the Court.

Argument heard on Defendant’s Rule 29 Motion, as to all Counts.

8:38 p.m.     Argument by Mr. Leedy.

8:52 a.m.     Argument by Mr. Holloway.

8:58 a.m.     Comments and ruling by the Court.

ORDERED: Defendant’s Oral Motion for Judgment of Acquittal is DENIED
Case 1:12-cr-00033-JLK Document 1876 Filed 06/07/18 USDC Colorado Page 2 of 3




8:59 a.m.       Court in recess.

9:05 a.m.       Court in session.

9:08 a.m.       Interpreter, Muhitidin Ahunhodjaev, sworn.

9:09 a.m.       Defendant, Jamshid Muhtorov, resumes the stand.
                Continued direct examination by Mr. Williamson.

Defendant’s Exhibits 689, 689A, 690, and 690A, offered.

No objection.

Defendant’s Exhibits 689, 689A, 690, and 690A are ADMITTED.

9:14 a.m.       Continued direct examination by Mr. Williamson.

10:18 a.m.      Court in recess.

10:42 a.m.      Court in session.

Jury present.

10:43 a.m.      Continued direct examination by Mr. Williamson.

Defendant’s Exhibits 697 and 697A, offered.

No objection.

Defendant’s Exhibits 697 and 697A are ADMITTED.

11:10 a.m.      Continued direct examination by Mr. Williamson.

Defendant’s Exhibit 709A, offered. (Translation to 709)

No objection.

Defendant’s Exhibit 709A is ADMITTED.

11:15 a.m.      Continued direct examination by Mr. Williamson.

Defendant’s Exhibit 714A, offered. (Translation to 714)

No objection.

Defendant’s Exhibit 714A is ADMITTED.

11:16 a.m.      Continued direct examination by Mr. Williamson.

Defendant’s Exhibit 718, offered. (Previously offered and admitted on 5/31/18)


                                             2
Case 1:12-cr-00033-JLK Document 1876 Filed 06/07/18 USDC Colorado Page 3 of 3




11:23 a.m.      Continued direct examination by Mr. Williamson.

12:02 p.m.      Court in recess.

1:35 p.m.       Court in session.

1:36 p.m.       Jury present.

1:37 p.m.       Continued direct examination by Mr. WIlliamson.

2:21 p.m.       Cross examination begins by Ms. Martinez.

Defendant’s Exhibit 692A, offered.

No objection.

Defendant’s Exhibit 692A is ADMITTED.

3:16 p.m.       Continued cross examination by Ms. Martinez.

3:18 p.m.       Court in recess.

3:42 p.m.       Court in session.

Jury present.

3:43 p.m.       Continued cross examination by Ms. Martinez.

4:28 p.m.       Redirect examination by Mr. Williamson.

4:51 p.m.       Witness excused.

The Court advises the Jury of the remaining trial schedule.

The Court admonishes the Jury regarding any discussion and/or independent
research of the case.

4:52 p.m.       Jury excused.

Question, marked as “Jury Question 1", tendered to the Court.

The Court reads the juror question and advises counsel that it will be addressed when
trial resumes on Monday, June 11, 2018.

ORDERED: Defendant is REMANDED to the custody of the United States Marshal for
         the District of Colorado.

4:54 p.m.     Court in recess.
Trial continued.
Time in court - 5 hours, 49 minutes.


                                             3
